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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                    Check if this is an
Case number (if known):                                       Chapter      11                                                          amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    06/24
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Digital Media Solutions, Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       4800 140th Avenue N.
                                       Number              Street                                     Number         Street

                                       Suite 101
                                                                                                      P.O. Box
                                       Clearwater                         FL        33762
                                          City                            State     Zip Code          City                         State       Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Pinellas County
                                          County                                                      Number         Street




                                                                                                      City                         State       Zip Code




5. Debtor’s website (URL)                 https://digitalmediasolutions.com

6.   Type of debtor                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)

                                             Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
                      Case 24-90468 Document 1 Filed in TXSB on 09/11/24 Page 2 of 22
Debtor            Digital Media Solutions, Inc.                                       Case number (if known)
           Name



                                             A. Check One:
7.   Describe debtor’s business
                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  Railroad (as defined in 11 U.S.C. § 101(44))

                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                                  None of the above

                                             B. Check all that apply:
                                                  Tax-exempt entity (as described in 26 U.S.C. § 501)

                                                  Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                   § 80a-3)
                                                  Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5418

8. Under which chapter of the                Check One:
   Bankruptcy Code is the
   debtor filing?                                 Chapter 7

                                                  Chapter 9

                                                  Chapter 11. Check all that apply:

                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                   4/01/25 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                   chooses to proceed under Subchapter V of Chapter 11.
                                                                   A plan is being filed with this petition.

                                                                   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                           Chapter 12

9. Were prior bankruptcy cases             No        District
   filed by or against the debtor          Yes.                                         When      MM/DD/YYYY      Case number
   within the last 8 years?
                                                     District                           When                      Case number
     If more than 2 cases, attach a                                                               MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
                     Case 24-90468 Document 1 Filed in TXSB on 09/11/24 Page 3 of 22
Debtor           Digital Media Solutions, Inc.                                      Case number (if known)
          Name



10. Are any bankruptcy cases               No
    pending or being filed by a            Yes.                                                                    Relationship     Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      Southern District of Texas
   List all cases. If more than 1,                                                                                 When             09/11/2024
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have           No
    possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                      Other


                                                  Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                  Is the property insured?
                                                     No

                                                     Yes.      Insurance agency

                                                               Contact name
                                                               Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Digital Media Solutions, Inc.                                      Case number (if known)
          Name



14. Estimated number of                     1-49                             1,000-5,000                              25,001-50,000
    creditors (on a                         50-99                            5,001-10,000                             50,001-100,000
    consolidated basis)                     100-199                          10,001-25,000                            More than 100,000
                                            200-999

15. Estimated assets (on a                  $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
    consolidated basis)                     $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million                More than $50 billion

16. Estimated liabilities (on              $0-$50,000                        $1,000,001-$10 million                   $500,000,001-$1 billion
    a consolidated basis)                  $50,001-$100,000                  $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                           $100,001-$500,000                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                           $500,001-$1 million               $100,000,001-$500 million                More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         09/11/2024
                                                             MM/ DD / YYYY


                                              /s/ Joe Marinucci                                              Joe Marinucci
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Authorized Signatory




18. Signature of attorney                     /s/ John F. Higgins                                            Date     09/11/2024
                                             Signature of attorney for debtor                                        MM/DD/YYYY



                                             John F. Higgins
                                             Printed name
                                             Porter Hedges LLP
                                             Firm name
                                             1000 Main St., 36th Floor
                                             Number                  Street
                                             Houston                                                                Texas           77002
                                             City                                                                   State             ZIP Code

                                             (713) 226-6000                                                         jhiggins@porterhedges.com
                                             Contact phone                                                               Email address
                                             09597500                                            Texas
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                      Southern District of Texas
                                     (State)                                                 Check if this is an
 Case number (if                                                                               amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Digital Media Solutions, Inc.

         Digital Media Solutions, Inc.                              Health Market Advisor Group, LLC
         Aimtell Holdco, Inc.                                       Orange Cedar Holdings, LLC
         Aimtell LLC                                                Peak Vertex LLC
         Apex Digital Solutions, LLC                                Performance Marketers Group, LLC
         Aramis Interactive, LLC                                    Protect.com LLC
         Art Brock Holdings, LLC                                    Pure Flow Marketing, LLC
         Best Rate Holdings, LLC                                    PushPros LLC
         Best Rate Referrals, Inc.                                  RGO Media LLC
         Car Loan Pal Holdings LLC                                  Schooladvisor, LLC
         CEP V DMS US Blocker Company                               She is Media, LLC
         CGIW Marketing Services, LLC                               SmarterChaos.com, LLC
         Dealtaker, LLC                                             Sparkroom Holdings, LLC
         Digital Media Solutions Holdings, LLC                      Sparkroom, LLC
         Digital Media Solutions, LLC                               SWWSMedia.com, LLC
         DMS Education LLC                                          Traverse Data, Inc.
         DMS Engage, LLC                                            UE Authority, Co.
         DMS UE Acquisition Holdings Inc.                           W4 Holding Company, LLC
         Edge Marketing, LLC                                        White Star Email LLC
         Forte Media Solutions, LLC
                Case 24-90468 Document 1 Filed in TXSB on 09/11/24 Page 6 of 22



                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    DIGITAL MEDIA SOLUTIONS, INC.,                       )     Case No. 24-___________(___)
                                                         )
                                Debtor.                  )
                                                         )

                                      LIST OF EQUITY SECURITY HOLDERS1

                                                                                          Percentage of
                   Equity Holder                  Address of Equity Holder
                                                                                           Equity Held
                                             22 St Clair Ave East Ste 1700 Toronto
             Clairvest Equity Partners V                                                      17.93%
                                                     ON M4T 2S3 Canada
                                              570 Washington Blvd Jersey City NJ
                    Cede & Co                                                                 14.57%
                                                          07310-1617
         Lion FIV PledgeCo Ltd, as
                                            East Wing, Trafalgar Court, Les Banques
         General Partner, of LF LV                                                            11.44%
                                              Saint Peter Port GY1 3PP Guernsey
               PledgeCo L.P.
        CEP V Co-Investment Limited          22 St Clair Ave East Ste 1700 Toronto
                                                                                               9.14%
                 Partnership                         ON M4T 2S3 Canada
            Leo Investors Limited           21 Grosvenor Place London SW1X 7HF
                                                                                               4.51%
                 Partnership                             United Kingdom
         CEP V-A DMS AIV Limited             22 St Clair Ave East Ste 1700 Toronto
                                                                                               3.40%
                 Partnership                         ON M4T 2S3 Canada
                                             4800 140th Ave N Ste 101 Clearwater
                  Prism Data LLC                                                               0.30%
                                                            FL 33762
       JEG Property Investments 401K          1540 Keller Pkwy Ste 108-PMB 323
                                                                                               0.05%
              Trust (JG Roth)                        Keller TX 76248-1660
                                            21 Grosvenor Place London SW1X 7HF
         Lori Bush Leo Holdings Corp                                                           0.03%
                                                         United Kingdom
      JEG Property Investments 401K           1540 Keller Pkwy Ste 108-PMB 323
                                                                                               0.03%
              Trust (NG Roth)                        Keller TX 76248-1660
      Estalea II LLC (f/k/a Terra Matrix     223 E De La Guerra St Santa Barbara
                                                                                               0.01%
                    LLC)                                 CA 93101-2206
                                             223 E De La Guerra St Santa Barbara
                    Estelea I LP                                                               0.01%
                                                         CA 93101-2206




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case. The Debtors are seeking authority to
       waive the requirement to file a list of all equity security holder as set forth in the Debtors’ Emergency
       Motion for Entry of an Order (I) Authorizing the Debtors (A) File a Consolidated Creditor Matrix and a
       Consolidated List of the 30 Largest Unsecured Creditors and (B) Redact Certain Personally Identifiable
       Information of Natural Persons; (II) Waiving the Requirement to File a List of Equity Security Holdings;
       (III) Approving the Form and Manner of Notifying Creditors of the Commencement of the Chapter 11
       Cases and Other Information; and (IV) Granting Related Relief.
          Case 24-90468 Document 1 Filed in TXSB on 09/11/24 Page 7 of 22



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 DIGITAL MEDIA SOLUTIONS, INC.,                       )      Case No. 24-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                 Shareholder                              Approximate Percentage of Shares Held
          Clairvest Equity Partners V                                    17.93%
                  Cede & Co                                              14.57%
      Lion FIV PledgeCo Ltd, as General
                                                                          11.44%
       Partner, of LF LV PledgeCo L.P.
                             Case 24-90468 Document 1 Filed in TXSB on 09/11/24 Page 8 of 22

 Fill in this information to identify the case:

 Debtor name:                   Digital Media Solutions, Inc, et al.
 United States Bankruptcy Court for the ______Southern District of Texas_
                                              (State)
 Case number (If known):                                                                                                                            Check if this is an
                                                                                                                                                 amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
 Name of creditor and complete mailing         Name, telephone number, and email         Nature of the        Indicate if      Amount of unsecured claim
 address, including zip code                   address of creditor contact               claim (for           claim is         If the claim is fully unsecured, fill in only
                                                                                         example, trade       contingent,      unsecured claim amount. If claim is partially
                                                                                         debts, bank loans,   unliquidated,    secured, fill in total claim amount and deduction
                                                                                         professional         or disputed      for value of collateral or setoff to calculate
                                                                                         services, and                         unsecured claim.
                                                                                         government                            Total claim, if    Deduction       Unsecured claim
                                                                                         contracts)                            partially          for value of
                                                                                                                               secured            collateral or
                                                                                                                                                  setoff
       GOOGLE LLC                              ATTN:
       160 AMPHITHEATRE PARKWAY                TITLE:
 1                                                                                           Trade Debts                                                            $2,771,537
       MOUNTAIN VIEW, CA 94043                 PHONE: (650) 253-0000
       UNITED STATES                           EMAIL: COLLECTIONS@GOOGLE.COM
                                               ATTN: THOMAS PANTIG
       QUOTEWIZARD
                                               TITLE:
       157 YESLER WAY
 2                                             PHONE: (203) 218-0441                         Trade Debts                                                            $2,084,331
       SEATTLE, WA 98104
                                               EMAIL:
       UNITED STATES
                                               THOMAS.PANTIG@LENDINGTREE.COM

       ALL WEB LEADS, INC.                     ATTN: DANIEL DELFAVERO
       9004 ANDERSON MILL ROAD, UNIT A         TITLE:
 3     AUSTIN, TX 78729                        PHONE: (512) 349-7900                         Trade Debts                                                            $2,075,179
                                               EMAIL:
       UNITED STATES
                                               DANIEL.DELFAVERO@ALLWEBLEADS.COM
       ADHARMONICS DBA EVERQUOTE               ATTN: HUNTER INGRAM
       210 BROADWAY, SUITE 302                 TITLE:
 4     CAMBRIDGE, MA 02139
                                                                                             Trade Debts                                                            $1,947,112
                                               PHONE: (615) 335-4152
       UNITED STATES                           EMAIL: HUNTER@EVERQUOTE.COM
       KISSTERRA                               ATTN: ERIC SEIDELMAN
       910 FOULK ROAD, SUITE 201               TITLE:
 5     WILMINGTON. DE 19803                                                                  Trade Debts                                                            $1,485,527
       UNITED STATES                           PHONE: (734) 972-8564
                                               EMAIL: ESEIDELMAN@KISSTERRA.COM
       FHEXEY CORP
       5TH FLOOR CROWN SEVEN BLDG., POPE       ATTN: NATALIIA FITSYCH
       JOHN PAUL II AVENUE                     TITLE:
 6     KASAMBAGAN, CEBU CITY, CEBU, REGION
                                                                                             Trade Debts                                                            $1,427,033
                                               PHONE:
       VII                                     EMAIL: NATALIA@MAILBOX.ORG
       PHILIPPINES

       SKADDEN ARPS SLATE                      ATTN: MARGARET KRAWIEC
       ONE MANHATTAN WEST                      TITLE:
                                                                                             Professional
 7     NEW YORK, NY 10001                      PHONE: (212) 735-3000                           Services
                                                                                                                                                                     $780,195

       UNITED STATES                           EMAIL:
                                               MARGARET.KRAWIEC@SKADDEN.COM

       RATEQUOTE.COM LLC                       ATTN:
       164 MARKET ST, STE 307                  TITLE:
 8     CHARLESTON, SC 29401                                                                  Trade Debts                                                             $677,474
                                               PHONE: (847) 302-7832
       UNITED STATES                           EMAIL: ACCOUNTING@RATEQUOTE.COM



 Official Form 204                                  List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                     Page 1
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Name of creditor and complete mailing        Name, telephone number, and email         Nature of the        Indicate if      Amount of unsecured claim
address, including zip code                  address of creditor contact               claim (for           claim is         If the claim is fully unsecured, fill in only
                                                                                       example, trade       contingent,      unsecured claim amount. If claim is partially
                                                                                       debts, bank loans,   unliquidated,    secured, fill in total claim amount and deduction
                                                                                       professional         or disputed      for value of collateral or setoff to calculate
                                                                                       services, and                         unsecured claim.
                                                                                       government                            Total claim, if   Deduction       Unsecured claim
                                                                                       contracts)                            partially         for value of
                                                                                                                             secured           collateral or
                                                                                                                                               setoff
      QUINSTREET                             ATTN:
      950 TOWER LANE, SUITE 1200             TITLE:
9     FOSTER CITY, CA 94404
                                                                                           Trade Debts                                                            $601,490
                                             PHONE: (650) 578-7700
      UNITED STATES                          EMAIL: ACCTG-AR@QUINSTREET.COM
      PRICEWATERHOUSECOOPERS. LLC            ATTN: ELIOT POWELL
      1075 PEACHTREE STREET                  TITLE:                                        Professional
10    ATLANTA, GA 30309                                                                      Services
                                                                                                                                                                  $586,586
                                             PHONE: (410) 703-0586
      UNITED STATES                          EMAIL: ELIOT.EM.POWELL@PWC.COM

      BAKER & MCKENZIE LLP                   ATTN: PAULINA VUU
      300 EAST RANDOLPH STREET, SUITE 5000   TITLE:
                                                                                           Professional
11    CHICAGO, IL 60601                      PHONE: (650) 856-2400                           Services
                                                                                                                                                                  $567,243

      UNITED STATES                          EMAIL:
                                             PAULINA.VUU@BAKERMCKENZIE.COM
      SPATARO MEDIA INC                      ATTN: MITCH SPATARO
      20 DRAPER CRES                         TITLE:
12    ONTARIO, CANADA L4N 8A9
                                                                                           Trade Debts                                                            $549,348
                                             PHONE: (705) 241-3963
      CANADA                                 EMAIL: MITCH@SMIMEDIA.ORG


      EDUCATION DYNAMICS                     TITLE:
      15200 SANTA FE TRAIL DR. SUITE 200     PHONE: (201) 377-3072
13    LENEXA, KS 66219
                                                                                           Trade Debts                                                            $518,494
                                             EMAIL:
      UNITED STATES                          ACCOUNTSRECEIVABLE@EDUCATIONDYNA
                                             MICS.NET
      UDONIS                                 ATTN: MIHOVIL GRGURIC
      2035 SUNSET LAKE                       TITLE:
14    NEWARK, DE 19702
                                                                                           Trade Debts                                                            $459,959
                                             PHONE: (385) 520-5204
      UNITED STATES                          EMAIL: KRISTINA@UDONIS.COM
      ADSYNC MEDIA LLC                       ATTN: JOHN VENTURA
      1200 BRICKELL AVE, SUITE 1950          TITLE:
15    MIAMI, FL 33131
                                                                                           Trade Debts                                                            $448,781
                                             PHONE: (305) 988-5680
      UNITED STATES                          EMAIL: VENTURA@ADSYNCMEDIA.COM

      RIOTECH                                ATTN: AVI RUACH
      AHAD HAAM 38                           TITLE:
16    TEL AVIV                                                                             Trade Debts                                                            $406,656
                                             PHONE:
      ISRAEL                                 EMAIL: AVI.R@RIO-TECH.COM
                                             ATTN: SHIVANI RATHORE
      AMAZON WEB SERVICES INC                TITLE:
      410 TERRY AVENUE NORTH                 PHONE: (833) 448-2289
17    SEATTLE, WA 98109                                                                    Trade Debts                                                            $351,643
                                             EMAIL:
      UNITED STATES
                                             AWS-RECEIVABLES-
                                             SUPPORT@EMAIL.AMAZON.COM

      DIGIPEAK                               ATTN: BELAL AYOUB
      30 N. GOULD ST. STE R, #1-265          TITLE:
18    SHERIDAN, WY 82801                                                                   Trade Debts                                                            $341,702
                                             PHONE: (516) 385-0000
      UNITED STATES                          EMAIL: ACCOUNTING@DIGIPEAK.COM

      TREND CAPITAL HOLDINGS, INC.           ATTN: ACCOUNTING DEPARTMENT
      655 W COLUMBIA WAY, #300               TITLE:
19    VANCOUVER, WA 98660                                                                  Trade Debts                                                            $337,436
                                             PHONE:
      UNITED STATES                          EMAIL: ACCOUNTING@LEADVISTA.IO

      MT MEDIA                               ATTN: BRANDON HOFFMAN
      222 EDGEWOOD CIRCLE                    TITLE:
20    RIPLEY, WV 25271                                                                     Trade Debts                                                            $333,333
                                             PHONE: (832) 444-6707
      UNITED STATES                          EMAIL: BRANDON@MTLEADMEDIA.COM


Official Form 204                                 List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                    Page 2
                           Case 24-90468 Document 1 Filed in TXSB on 09/11/24 Page 10 of 22

Name of creditor and complete mailing      Name, telephone number, and email         Nature of the        Indicate if      Amount of unsecured claim
address, including zip code                address of creditor contact               claim (for           claim is         If the claim is fully unsecured, fill in only
                                                                                     example, trade       contingent,      unsecured claim amount. If claim is partially
                                                                                     debts, bank loans,   unliquidated,    secured, fill in total claim amount and deduction
                                                                                     professional         or disputed      for value of collateral or setoff to calculate
                                                                                     services, and                         unsecured claim.
                                                                                     government                            Total claim, if   Deduction       Unsecured claim
                                                                                     contracts)                            partially         for value of
                                                                                                                           secured           collateral or
                                                                                                                                             setoff
      CAMPUS EXPLORER/ARCHER ED            ATTN: BILLINGS DEPARTMENT
      10975 BENSON DR. SUITE 150           TITLE:
21    OVERLAND PARK, KS 66210                                                            Trade Debts                                                            $330,555
                                           PHONE: (424) 216-9335
      UNITED STATES                        EMAIL: BILLABLES@ARCHEREDU.COM

      MEDIA ALPHA                          ATTN: NOUNY ROGERS
      700 SOUTH FLOWER STREET, SUITE 640   TITLE:
22    LOS ANGELES, CA 90017                                                              Trade Debts                                                            $330,308
                                           PHONE: (213) 340-4899
      UNITED STATES                        EMAIL: NOUNY@MEDIALPHA.COM
                                           ATTN: RAVIN RODRIGUEZ
      KLEIN MOYNIHAN TURCO LLP
      450 SEVENTH AVENUE, 40TH FLOOR       TITLE:
                                                                                         Professional
23    NEW YORK, NY 10123                   PHONE: (212) 246-0900                           Services
                                                                                                                                                                $322,488
      UNITED STATES                        EMAIL:
                                           RRODRIGUEZ@KLEINMOYNIHAN.COM

      FACEBOOK                             ATTN: ACCOUNTS RECEIVABLE
      1 HACKER WAY                         TITLE:
24    MENLO PARK, CA 94025                                                               Trade Debts                                                            $295,563
                                           PHONE: (650) 543-4800
      UNITED STATES                        EMAIL: AR@META.COM
                                           ATTN: CHRIS HAMLER
      SUITED CONNECTOR, LLC
      8123 INTERPORT BLVD, SUITE A         TITLE:
25    ENGLEWOOD, CO 80112                  PHONE: (888) 997-5240                         Trade Debts                                                            $291,435
      UNITED STATES                        EMAIL:
                                           ACCOUNTING@SUITEDCONNECTOR.COM

      OTTO QUOTE, LLC                      ATTN: ACCOUNTING DEPARTMENT
      78 SW 7TH ST, FL 6                   TITLE:
26    MIAMI, FL 33130                                                                    Trade Debts                                                            $272,861
                                           PHONE:
      UNITED STATES                        EMAIL: ACCOUNTING@USEOTTO.TECH

      THE LEAD COMPANY                     ATTN: ACCOUNTING DEPARTMENT
      6757 CASCADE RD SE #205              TITLE:
27    GRAND RAPIDS, MI 49546                                                             Trade Debts                                                            $239,886
                                           PHONE: (616) 365-5141
      UNITED STATES                        EMAIL: ACCOUNTING@LEAD.CO

      RENUANT, LLC                         ATTN: PATRICK CROSS
      222 MERCHANDISE MART STE. 875        TITLE:
28    CHICAGO, IL 60654                                                                  Trade Debts                                                            $211,511
                                           PHONE:
      UNITED STATES                        EMAIL: ACCOUNTING@TRANSPARENT.LY
      VORBIS LIMITED
      HERITAGE CENTER KILLIMOR             ATTN: NATALIIA FITSYCH
      BALLINASLOE                          TITLE:
29    GALWAY H53 VE48                                                                    Trade Debts                                                            $211,447
                                           PHONE:
      REPUBLIC OF IRELAND
                                           EMAIL: NATALIA@MAILBOX.ORG

      TIBRIO                               ATTN: STEPHAN GOSS
      3131 W BOLT STREET #A19              TITLE:
30    FORT WORTH, TX 76110                                                               Trade Debts                                                            $208,092
                                           PHONE:
      UNITED STATES                        EMAIL: INFO@TIBRIO.COM




Official Form 204                               List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                    Page 3
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    Fill in this information to identify the case and this filing:

   Debtor Name          Digital Media Solutions, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
         partnership; or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true
         and correct:

           Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
           Schedule H: Codebtors (Official Form 206H)
           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
           Amended Schedule
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)
           Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        09/11/2024                                    /s/ Joe Marinucci
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Joe Marinucci
                                                                                   Printed name
                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor

Official Form 202                                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
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           OMNIBUS RESOLUTIONS OF THE STRATEGY COMMITTEE
OF DIGITAL MEDIA SOLUTIONS, INC., DIGITAL MEDIA SOLUTIONS HOLDINGS, LLC,
    DIGITAL MEDIA SOLUTIONS, LLC, DMS UE ACQUISITION HOLDINGS, INC.,
        CEP V DMS US BLOCKER COMPANY, AND TRAVERSE DATA, INC.

                                           September 11, 2024

        WHEREAS, the members of the capital allocation and strategy committee (the “Strategy
Committee”) of the boards of directors or boards of managers, as applicable, (the “Boards” and each, a
“Board”) of Digital Media Solutions, Inc., Digital Media Solutions Holdings, LLC, Digital Media
Solutions, LLC, DMS UE Acquisition Holdings, Inc., CEP V DMS US Blocker Company, and Traverse
Data, Inc. (each, a “Company” and collectively, the “Companies”), on behalf of the Companies, and the
direct and indirect subsidiaries identified on Exhibit A attached hereto (together with the Companies,
each, a “Filing Entity” and collectively, the “Filing Entities”) conducted a telephonic meeting
(the “Meeting”) on September 11, 2024;

       WHEREAS, Digital Media Solutions, LLC, has the authority as the sole stockholder or sole
member, as applicable, directly or indirectly, of each of the entities set forth on Exhibit A to manage the
business affairs of each of the entities set forth on Exhibit A and to enter into the following resolutions
(the “Resolutions”) on behalf of each of the entities set forth on Exhibit A;

       WHEREAS, a requisite number of the members of the Strategy Committee, constituting a
quorum, participated throughout the Meeting. After it was confirmed that the Meeting was duly
convened (and each member of the Strategy Committee waived any notice requirements in connection
therewith), the Meeting was called to order;

         WHEREAS, on November 7, 2023, the Boards established the Strategy Committee to, among
other things, (a) oversee such applicable Company’s liquidity and cost cutting programs in partnership
with the Companies’ management team, advisors, and any other relevant parties and (b) review, analyze,
assess, develop, and negotiate any financing, recapitalization, merger, divestiture, acquisition, leasing,
restricting, or similar transactions for the Companies (each, a “Transaction”);

        WHEREAS, on August 30, 2024, the Boards expanded the scope of authority of the Strategy
Committee to include the power and authority to (a) authorize each Company to file voluntary petitions
for relief under the provisions of title 11 of the United States Code, 11 U.S.C. §§ 101–1532
(the “Bankruptcy Code”), and (b) approve any Transaction and bind each Company, on behalf of itself
or in its capacity as a member manager, and its subsidiaries, with respect to any such Transaction
without further need for further approval by the Board;

        WHEREAS, the Strategy Committee has reviewed and considered: (i) the filing of voluntary
petitions for relief (the “Bankruptcy Petitions”) for each Filing Entity under the provisions of chapter 11
of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”) pursuant to the governing documents, as applicable, of each Filing Entity and
the applicable laws of the jurisdiction in which each Filing Entity is organized; (ii) the use of Cash
Collateral, the entry into the DIP Facility, and the incurrence of Adequate Protection Obligations (each
as defined herein); (iii) entry into the Stalking Horse Agreement and approval of the Expense
Reimbursement (each as defined herein); (iv) the appointment of Mr. Zachary Rose, Triple P RTS, LLC,

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as Chief Restructuring Officer of each Filing Entity; and (v) the retention of professionals by each Filing
Entity; and

       WHEREAS, the Strategy Committee has reviewed and considered the materials presented by
the management of the Companies and the Companies’ financial and legal advisors, and has had
adequate opportunity to consult with such persons regarding the materials presented, obtain additional
information, and to fully consider each of the strategic alternatives available to the Filing Entities.

      NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the governing
documents, the Companies hereby adopt the following Resolutions:

CHAPTER 11 FILING

        NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the Strategy
Committee, it is desirable and in the best interests of the Filing Entities, their stakeholders, their
creditors, and other parties in interest, that each Filing Entity files or causes to be filed the Bankruptcy
Petitions under the Bankruptcy Code (such voluntary chapter 11 cases, the “Chapter 11 Cases”) in the
Bankruptcy Court, and any other petition for relief or recognition or other order that may be desirable
under applicable law in the United States, and, in accordance with the governing documents, as
applicable, of the Filing Entities and the applicable laws of the jurisdiction in which each Filing Entity is
organized, and hereby consents to, authorizes, and approves the filing of the Bankruptcy Petitions; and it
is

       RESOLVED FURTHER, that any partner, director, manager, member, or any other duly
appointed officer of the Filing Entities (collectively, the “Authorized Signatories”), acting alone or with
one or more other Authorized Signatories, with power of delegation, be, and they hereby are, authorized,
empowered, and directed to execute and file on behalf of each Filing Entity all petitions, schedules, lists,
and other motions, papers, or documents, and to take any and all action that they deem necessary or
proper to obtain such relief, including, without limitation, any action necessary or proper to maintain the
ordinary course operation of each Filing Entity’s business.

USE OF CASH COLLATERAL, DEBTOR-IN-POSSESSION FINANCING, AND ADEQUATE
PROTECTION

         RESOLVED FURTHER, that, it is desirable and in the best interests of the Filing Entities, their
stakeholders, their creditors, and other parties in interest, to obtain the benefits from the (i) use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”) in the Chapter 11 Cases, which collateral is security for certain prepetition
secured lenders (collectively, the “Prepetition Lenders”) under that certain Credit Agreement, dated as
of May 25, 2021 by and among Digital Media Solutions, LLC, as borrower, Digital Media Solutions
Holdings, LLC, as Holdings, Ankura Trust Company, LLC, as administrative agent and collateral agent,
and the lenders and issuing banks party thereto (as amended, restated, amended and restated,
supplemented or otherwise modified from time to time, the “Credit Agreement”), and (ii) the incurrence
of an approximately $122 million senior secured superpriority priming debtor-in-possession financing
facility, which shall include $30 million in of new money loans and a “roll up” of approximately $92
million under the Credit Agreement (the “DIP Facility”) on the terms and conditions set forth in the DIP
Documents (as defined herein); and it is

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       RESOLVED FURTHER, that to use and obtain the benefits of Cash Collateral and the
DIP Facility, and in accordance with section 363 of the Bankruptcy Code, the Filing Entities be, and
hereby are, authorized to provide certain adequate protection to the Prepetition Lenders
(the “Adequate Protection Obligations”) as documented in proposed interim and final orders
(together, the “DIP Orders”) and submitted for approval to the Bankruptcy Court, and, to the extent that
the Companies are required to obtain consent from the Prepetition Lenders to enter into any of the DIP
Documents (as defined herein), to obtain such consents; and it is

        RESOLVED FURTHER, that the form, terms, and provisions of the DIP Facility be, and
hereby are, in all respects approved, and the Filing Entities are authorized to enter into the DIP Facility
subject to approval by the Bankruptcy Court; and it is

        RESOLVED FURTHER, that the form, terms, and provisions of the DIP Orders to which the
Filing Entities are or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and the Authorized Persons of the Filing Entities be, and
hereby are, authorized, directed, and empowered, in the name of and on behalf of the Filing Entities, to
take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform,
and cause the performance of, the DIP Orders and the DIP Facility, and such other agreements,
certificates, instruments, notices, receipts, recordings, filings, petitions, motions, or other papers or
documents to which the Filing Entities are or will be a party, including, but not limited to, any security
and pledge agreement or guaranty agreement (collectively, with the DIP Orders and the DIP Facility,
the “DIP Documents”), incur and pay or cause to be paid all fees and expenses in each case, in the form
or substantially in the form thereof submitted to the Strategy Committee, with such changes, additions,
and modifications thereto as the officers of the Filing Entities executing the same shall approve, such
approval to be conclusively evidenced by such officers’ execution and delivery thereof; and it is

       RESOLVED FURTHER, that the Filing Entities, as debtors and debtors in possession under
the Bankruptcy Code be, and hereby are, authorized to incur the Adequate Protection Obligations and to
undertake any and all related transactions on substantially the same terms as contemplated under the
DIP Documents (collectively, the “DIP Transactions”), including the guaranty of the obligations
thereunder and the granting of liens on substantially all of its assets to secure such obligations; and it is

        RESOLVED FURTHER, that the Authorized Persons of the Filing Entities be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, the Filing Entities to file or to
authorize the DIP Agent to file any Uniform Commercial Code (the “UCC”) financing statements, any
other equivalent filings, any intellectual property filings and recordation, and any necessary assignments
for security or other documents in the name of the Filing Entities that the DIP Agent deems necessary or
appropriate to perfect any lien or security interest granted under the DIP Orders and the DIP Documents,
including any such UCC financing statement containing a generic description of collateral, such as “all
assets,” “all property now or hereafter acquired,” and other similar descriptions of like import, and to
execute and deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
respect of real property of the Filing Entities and such other filings in respect of intellectual and other
property of the Filing Entities, in each case as the DIP Agent may reasonably request to perfect the
security interests of the DIP Agent under the DIP Orders.



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THE STALKING HORSE AGREEMENT AND EXPENSE REIMBURSEMENT

         RESOLVED FURTHER, that the Filing Entities have negotiated an asset purchase agreement
(the “Stalking Horse Agreement”), with the lenders under the DIP Facility (the “Stalking Horse
Bidder”), in good faith for the sale of substantially all of the Filing Entities’ assets to the Stalking Horse
Bidder, and that the Strategy Committee of the Companies, in their business judgment, believe that
finalization of, and entry into, the Stalking Horse Agreement is in the best interests of each Filing Entity,
and such entry be, and hereby is, ratified and approved in all respects, including modifications as
necessary, and the Filing Entities are hereby authorized to undertake any and all related transactions
contemplated thereby, including finalizing the negotiation and documentation thereof, on the terms
contained therein or on such other terms and conditions as the Authorized Signatories, or any of them in
their, his, or her sole discretion, determine to be necessary, appropriate, or desirable; and it is

        RESOLVED FURTHER, that the Authorized Signatories of the Filing Entities be, and hereby
are, authorized, directed, and empowered to execute and file with the Bankruptcy Court a motion to
approve the Stalking Horse Agreement, including the expense reimbursement of up to $1,000,000
(the “Expense Reimbursement”), and authorize the Filing Entities to conduct a sale process for all,
substantially all, or a portion of the Filing Entities’ assets pursuant to certain bidding procedures
(the “Bidding Procedures”); and it is

        RESOLVED FURTHER, that the Authorized Signatories of the Filing Entities be, and hereby
are, authorized, directed, and empowered to conduct one or more auctions, if necessary, in accordance
with the terms of the Bidding Procedures (each, an “Auction”) and to negotiate, for and on behalf of the
Filing Entities, such agreements, documents, assignments, and instruments as may be necessary,
appropriate, or desirable in connection with the sale to the Stalking Horse Bidder or such other
successful bidder at an Auction.

CHIEF RESTRUCTURING OFFICER

       RESOLVED FURTHER, that to assist with the Filing Entities’ evaluation, pursuit, and
implementation of strategic alternatives, the Strategy Committee has considered the appointment of a
representative from Triple P RTS, LLC (“Portage”) to serve in the capacity of Chief Restructuring
Officer of each Filing Entity, which such duties, authority, and responsibilities as set forth herein and
that certain form of engagement letter by and between Digital Media Solutions, Inc. and Portage
(the “Engagement Letter”) attached hereto as Exhibit B; and it is

       RESOLVED FURTHER, that the Strategy Committee forms the office of the Chief
Restructuring Officer at each of the Filing Entities, which shall have the duties, authority, and
responsibilities set forth herein in the Engagement Letter and shall be an Authorized Signatory on behalf
of each Filing Entity; and it is

        RESOLVED FURTHER, that pursuant to the applicable organizational documents of each of
the Filing Entities, Mr. Zachary Rose of Portage is hereby appointed as the Chief Restructuring Officer
of each Filing Entity effective as of the date hereof, reporting to, and serving at the direction of, the
Strategy Committee, until his successor has been duly appointed or until his earlier resignation, removal
from office, or death; and it is


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        RESOLVED FURTHER, that the Engagement Letter and the terms thereof is hereby approved
in the form presented to the Strategy Committee and an Authorized Officer is hereby authorized to enter
into such revised Engagement Letter (with such changes as authorized by such Authorized Officer as
evidenced by its signature thereto) and take all actions thereunder.

RETENTION OF PROFESSIONALS

        RESOLVED FURTHER, that the Authorized Signatories be, and they hereby are, authorized,
empowered, and directed to employ (i) the law firm of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP as co-bankruptcy counsel; (ii) the law firm of Porter Hedges LLP, as co-bankruptcy
counsel; (iii) Houlihan Lokey, Inc. as investment banker; (iv) Portage, as financial advisor, tax services
provider, and Chief Restructuring Officer; (v) Omni Agent Solutions, Inc. as claims and noticing agent;
and (vi) any other legal counsel, accountant, financial advisor, restructure advisor, banker, or other
professional the Authorized Signatories deem necessary, appropriate, or advisable to retain, each to
represent and assist the Filing Entities in carrying out their duties and responsibilities and exercising
their rights under the Bankruptcy Code and other applicable law, and to take any and all actions to
advance each Filing Entity’s rights and obligations, including filing any motions, objections, replies,
applications or pleadings, and in connection therewith, each of the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of the bankruptcy professionals.

GENERAL

       RESOLVED FURTHER, that in addition to the specific authorizations heretofore conferred
upon the Authorized Signatories, each of the Authorized Signatories (and their designees and delegates)
be, and they hereby are, individually authorized and empowered, in the name of and on behalf of the
Filing Entities, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver and file any and all such agreements, certificates, instruments and other documents
and to pay all expenses, including but not limited to filing fees, in each case as in such officer’s
judgment, shall be necessary, advisable, convenient or desirable in order to fully carry out the intent and
accomplish the purposes of the Resolutions adopted herein; and it is

       RESOLVED FURTHER, that the Strategy Committee has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing Resolutions, as may be
required by the organizational documents of each Company, or hereby waive any right to have received
such notice; and it is

        RESOLVED FURTHER, that to fully carry out the intent and effectuate the purposes of the
foregoing Resolutions, each of the Strategy Committee and each of the Authorized Signatories are
hereby authorized to take all such further action, and to execute and deliver all such further instruments
and documents in the name and on behalf of the Filing Entities, and under its corporate seal or otherwise
pay all such fees and expenses, which shall in his or her business judgment may be necessary, proper, or
advisable; and it is

      RESOLVED FURTHER, that all acts, actions and transactions relating to the matters
contemplated by the foregoing Resolutions done in the name of and on behalf of each Filing Entity,

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which acts would have been approved by the foregoing Resolutions except that such acts were taken
before the adoption of these Resolutions, are hereby in all respects approved and ratified as the true acts
and deeds of each Filing Entity with the same force and effect as if each such act, transaction, agreement
or certificate has been specifically authorized in advance by the resolutions of the Strategy Committee.

                                             *   *   *   *   *




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                               Exhibit A

                 Filing Entities other than the Companies

                       Name                             Jurisdiction
    Aimtell LLC                                             DE
    Apex Digital Solutions, LLC                             DE
    Aramis Interactive, LLC                                 TX
    Art Brock Holdings, LLC                                 DE
    Best Rate Holdings, LLC                                 DE
    Best Rate Referrals, Inc.                               CA
    Car Loan Pal Holdings LLC                               DE
    CGIW Marketing Services, LLC                            DE
    Dealtaker, LLC                                          CO
    DMS Education LLC                                       DE
    DMS Engage, LLC                                         DE
    Edge Marketing, LLC                                     DE
    Forte Media Solutions, LLC                              DE
    Health Market Advisor Group, LLC                        DE
    Orange Cedar Holdings, LLC                              WY
    Peak Vertex LLC                                         DE
    Performance Marketers Group, LLC                        DE
    Protect.com LLC                                         DE
    Pure Flow Marketing, LLC                                DE
    PushPros LLC                                            DE
    RGO Media, LLC                                          MA
    SchoolAdvisor, LLC                                      DE
    She is Media, LLC                                       CO
    Smarterchaos.com, LLC                                   CO
    Sparkroom Holdings, LLC                                 DE
    Sparkroom, LLC                                          NE
    SWWSMedia.com, LLC                                      DE
    W4 Holding Company, LLC                                 DE
    White Star Email LLC                                    DE
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                            Exhibit B

                      [Intentionally Omitted]
